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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Middle DistrictDistrict
 __________              of __________
                 of Florida

 Case number (If known): _________________________ Chapter 15                                                                                     Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Adrian Guenter Lenz
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)       ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                       Other ___________________________. Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:     xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Jens Lieser as the Administrator of the insolvency estate of Adrian Guenter Lenz
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             German insolvency proceeding
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ì Foreign main proceeding
                                                  Foreign nonmain proceeding
                                                  Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               ì A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                  A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                  Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign                     No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ì Yes
     foreign representative(s)?



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Debtor          Adrian  Guenter Lenz
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Germany
                                        ______________________________________________                   ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 Frankfurter Straße 9
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Limburg                                   65549
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Germany
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:

                                                Non-individual (check one):

                                                      Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                      Partnership

                                                      Other. Specify: ________________________________________________

                                         ì Individual




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Debtor        Adrian  Guenter Lenz
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                        ì Debtor’s principal place of business or principal assets in the United States are in this district.
                                            Debtor does not have a place of business or assets in the United States, but the following
                                            action or proceeding in a federal or state court is pending against the debtor in this district:
                                            ___________________________________________________________________________.

                                            If neither box is checked, venue is consistent with the interests of justice and the convenience
                                            of the parties, having regard to the relief sought by the foreign representative, because:
                                            ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                           ________________________________________________           Ö»²- Ô·»-»®
                                                                                                      _______________________________________________
                                          Signature of foreign representative                        Printed name


                                       Executed on        __________________
                                                           MM / DD / YYYY



                                           ________________________________________________           Ö»²- Ô·»-»®
                                                                                                      _______________________________________________
                                          Signature of foreign representative                        Printed name


                                       Executed on        __________________
                                                           MM / DD / YYYY




14.   Signature of attorney                /s/ Rachel Nanes                                                        ðéñðéñîðîð
                                           _________________________________________________ Date                 _________________
                                           Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                          Î¿½¸»´  Ò¿²»-
                                          _________________________________________________________________________________________________
                                          Printed name
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                                          _________________________________________________________________________________________________
                                          Firm name
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                                          Contact phone                                                   Email address




                                          èëïêé                                                  ÚÔ
                                          ______________________________________________________ ____________
                                          Bar number                                                      State




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           EXHIBIT 2
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Executed Copy

Local Court of Limburg
- Insolvency Court -
9 IN 139/18
(please always provide)

                                                                                    21 December 2018


                                                 Order


In the insolvency proceedings in relation to the assets of

Adrian Günter Lenz, Remmeltstraße 22, 65597 Hünfelden,

Representative in the proceedings:
Lawyer Rainer-Manfred Althaus, 0 6, 7, 68161 Mannheim,

the insolvency proceedings are commenced on 21 December 2018 at 09:00 am CET pursuant to
sections 2, 3, 11, 16 ff., 315 et seq. German Insolvency Code (InsO).

The debtor will obtain residual debt discharge if he fulfils the obligations under section 295 InsO and
the conditions for refusal under sections 290, 297 to 298 InsO are not met.

As insolvency administrator is hereby appointed:

Lawyer Jens Lieser, Frankfurter Straße 9, 65549 Limburg, Tel.: 06431/409837, Fax: 06431/478077,
E-Mail: info@lieser-rechtsanwaelte.de

The debtor is prohibited from disposing of his present and future assets belonging to the insolvency
estate for the duration of the insolvency proceedings. The power of disposal is transferred to the
insolvency administrator.

Debt discharging payments to the debtor can no longer be made after the commencement date. If,
nevertheless, payment is made to the debtor and the funds do not reach the insolvency estate, there is
a risk that payment will again need to be made to the insolvency administrator.

The further proceedings 9 IN 107/18 is hereby connected to the present proceedings. The proceedings
9 IN 139/18 lead.

Reasoning:
The debtor is insolvent. This is the conviction of the court on the basis of the investigations carried
out, in particular on the basis of the expert opinion of the lawyer Jens Lieser dated 19 December 2018
in the proceedings 9 IN 107/18.

Instruction on the right to appeal
The decision to open insolvency proceedings may be appealed immediately by the debtor, the
Pensions Security Scheme, the Federal Financial Supervisory Agency and, in the case of legal entities
and companies without legal personality, by any member of the representative body or any personally
liable shareholder. It must be filed with the Local Court of Limburg, Walderdorffstraße 12, 65549
Limburg a. d. Lahn within an emergency period of 2 weeks.
The period begins with the notification or delivery of the decision. Where service has been effected by
public notice, it shall commence as soon as two further days have elapsed after the date of publication.
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If the public announcement is made in addition to service, the earlier event shall be decisive for the
start of the period.
The appeal may be lodged by filing a notice of appeal with the above-mentioned court or may be
entered in the minutes of the registry of each local court, whereby the receipt by the above-mentioned
court shall be decisive for compliance with the time limit. It must be signed by the complainant or his
authorised representative. The appeal shall contain the name of the order under appeal and a statement
that an appeal will be lodged against that order. If the decision is to be contested only in part, the
scope of the appeal shall be specified.
The appeal shall be substantiated.

Peters
Judge at the Local Court
Executed Limburg, 21 December 2018

Martin, Judical Clerk
As registrar of the office
